              Case 2:20-cv-00480-RSM Document 18 Filed 09/29/20 Page 1 of 2




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                               UNITED STATES DISTRICT COURT FOR THE
 7                               WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
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 9
     ARETHA BROWN,
                                                          CASE NO. C20-480-RSM
10
                            Plaintiff,
            V.                                            ORDER OF DISMISSAL
11
     ERIC FORBES,
12
                            Defendant.
13

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            This matter comes before the Court sua sponte and on the Court’s August 31, 2020 Order to
15
     Show Cause. Dkt. #17. Plaintiff Aretha Brown, proceeding pro se, filed this action on March 30,
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     2020. Dkt. #1. Plaintiff simultaneously moved to seal the case, citing concerns about confidentiality.
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     See Dkt. #2 (“I had to disclose information that I do not want to make public . . . my future
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     counsel . . . might choose to amend this complaint &/or redact information.”). Plaintiff has been
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     granted leave to proceed in forma pauperis. Dkt. #7. Summonses have not yet been issued.
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            On April 3, 2020, the Court denied Plaintiff’s motion to seal on the basis that it found no
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     compelling reason to justify sealing the complaint, let alone the entire case. See Dkt. #5 at 3. However,
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     in an abundance of caution and in consideration of Plaintiff’s pro se status, the Court afforded Ms.
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25    ORDER OF DISMISSAL - 1
              Case 2:20-cv-00480-RSM Document 18 Filed 09/29/20 Page 2 of 2




 1 Brown the opportunity to re-file her IFP application, including her proposed complaint, so that she

 2 may “remove any exhibits or information she does not wish to include in a publicly-filed document.”

 3 Id. Plaintiff’s original complaint and its attachments, which included a settlement letter from

 4 Plaintiff’s previous counsel, have remained under seal. See Dkt. #1.

 5          On May 4, 2020, the Court issued an order to show cause notifying Plaintiff that she submitted

 6 her IFP application but failed to file an amended complaint that removed information she did not wish

 7 to make public. Dkt. #8 at 1. The Court directed Plaintiff to submit a short and plain statement within

 8 twenty-one (21) days explaining why this matter should not be dismissed for failure to prosecute. Id.

 9 at 2. The Court advised that failure to file a response would result in dismissal of this case.

10          On May 29, 2020, the Court dismissed this case after failing to receive a response to the show

11 cause order. Dkt. #9. Upon receiving Plaintiff’s delayed response, Dkt. #12, the Court reopened the

12 case. Dkt. #13. Again, the Court directed Plaintiff to file an amended complaint to remove any

13 potentially sensitive information contained in her original complaint. Plaintiff failed to do so, and on

14 August 31, 2020, the Court issued a second order to show cause. Dkt. #17. (“Because the Court kept

15 Plaintiff’s original complaint under seal to protect any potentially sensitive information, there is no

16 operative complaint in this case. Plaintiff must file an amended complaint in order to proceed.”).

17          As of the date of this Order, Plaintiff has failed to file an amended complaint and has failed to

18 respond to the Court’s August 31, 2020 order to show cause. Accordingly, this matter is DISMISSED

19 for failure to prosecute pursuant to LCR 41(b)(2).

20          DATED this 29th day of September, 2020.

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                                                  RICARDO S. MARTINEZ
23                                                CHIEF UNITED STATES DISTRICT JUDGE

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25    ORDER OF DISMISSAL - 2
